Michael B. Baylous, ABA No. 0905022
LANE POWELL LLC
301 West Northern Lights Boulevard, Suite 301
Anchorage, Alaska 99503-2648
Telephone: 907-264-3303
Facsimile: 907-276-2631
Email:      baylousm@lanepowell.com
Attorneys for Plaintiff First Insurance Funding Corp.


                        UNITED STATES DISTRICT COURT
                      DISTRICT OF ALASKA AT ANCHORAGE
FIRST INSURANCE FUNDING CORP.,

                               Plaintiff,

v.
                                               Case No. 3:17-cv-00152-SLG
BLACK GOLD EXPRESS, INC.,
                                                         APPLICATION FOR
                             Defendant.                 DEFAULT JUDGMENT
        The Clerk entered default against Defendant Black Gold Express, Inc. (“Black
Gold”). [Doc. 08] Pursuant to Federal Civil Rule 55 and LR 55.1, Plaintiff First Insurance
Funding Corp. (“First Insurance”) now requests the clerk enter judgment against Black
Gold.1 This application for default judgment is supported by the Declarations of Mark C.
Lucas and Michael B. Baylous filed herewith.
        On or about April 20, 2016, the parties entered into a Commercial Premium
Finance Agreement (“Agreement”), whereby First Insurance advanced payment of
insurance premiums, totaling $1,920,936.48, for various insurance policies for Black
Gold.
        To repay the financed insurance premiums, the Agreement required Black Gold to
make a down payment of $192,093.65 and ten monthly payments of $175,150.62,

1The Defendant is an Alaska corporation. Thus it is not an infant, incompetent, or in
military service.


         Case 3:17-cv-00152-SLG Document 10 Filed 08/28/17 Page 1 of 3
starting on April 23, 2016. Black Gold was also obligated to pay a finance charge of 2.85
percent per annum or $22,663.37.
        Through the Agreement, Black Gold assigned First Insurance a security interest in
the financed policies, and appointed First Insurance as its attorney-in-fact with the power
to cancel the policies and recoup any unearned premiums following default by Black
Gold.    The Agreement also required Black Gold to pay a late fee for any missed
payments.
        Black Gold late-paid the May 2016 payment. Black Gold was also late on the
June 2016 payment, making a partial payment on July 8, 2016. Black Gold failed to
make any additional payments, and thus defaulted on the Agreement.
        On or about August 12, 2016, First Insurance notified Black Gold and its various
insurers that coverages were cancelled because of Black Gold’s default.
        Pursuant to the Agreement, First Insurance recouped unearned premiums.
However, such unearned premiums did not fully satisfy Black Gold’s obligation to First
Insurance. The outstanding principal balance owed by Black Gold to First Insurance
totals $151,000.19.
        The Agreement further obligates Black Gold to “pay reasonable attorney fees,
court costs, and other collection costs to [First Insurance] to the extent permitted by law if
this Agreement is referred to an attorney . . . who is not a salaried employee of [First
Insurance] to collect money that Insured owes . . . .” First Insurance’s counsel, Lane
Powell LLC, is not a salaried employee of First America. As outlined in the Baylous
Declaration, attorney fees incurred in this matter total $4,012.50.
        First Insurance requests the Court enter judgment against Black Gold in the
amount of $155,012.69, plus any and all additional charges, costs, expenses, and/or




Application for Default Judgment
First Insurance Funding Corp. v. Black Gold Express, Inc. (Case No. 3:17-cv-00152-SLG)   Page 2 of 3

          Case 3:17-cv-00152-SLG Document 10 Filed 08/28/17 Page 2 of 3
attorney fees incurred after August 17, 2017 that relate to the loan or the enforcement of
this judgment.
         DATED this 28th day of August, 2017.
                                                     LANE POWELL LLC
                                                     Attorneys for Plaintiff
                                                     First Insurance Funding Corp.

                                                     By s/Michael B. Baylous
                                                       Michael B. Baylous, ABA No. 0905022
130955.0001/7040163.1




Application for Default Judgment
First Insurance Funding Corp. v. Black Gold Express, Inc. (Case No. 3:17-cv-00152-SLG)   Page 3 of 3

            Case 3:17-cv-00152-SLG Document 10 Filed 08/28/17 Page 3 of 3
